Case 2:90-cv-00520-KJM-SCR Document 3148

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA
AND THE NORTHERN DISTRICT OF CALIFORNIA
UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

RALPH COLEMAN, etal.,
Plaintiffs,

No. 2:90-cv-00520 LKK JFM P
THREE-JUDGE COURT

Vv.

ARNOLD SCHWARZENEGGER, et al.,
Defendants.

MARCIANO PLATA, et al.,
Plaintiffs,

No, C01-1351 TEH
THREE-JUDGE COURT

Vv. TRIAL AFFIDAVIT OF THOMAS G.

ARNOLD SCHWARZENEGGER, et al.,
Defendants.

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HOFFMAN
To: Three-Judge Panel

TRIAL AFFIDAVIT OF THOMAS G. HOFFMAN

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|, Thomas G. Hoffman, declare:

1. | am the Director of the Division of Adult Parole Operations (DAPO) for the
California Department of Corrections and Rehabilitation (CDCR). | have personal
knowledge of the facts stated in this declaration and if called to testify about those facts
could and would do so competently.

I. Current Position and Background

2. | was appointed Director of the Division of Adult Parole Operations on
August 14, 2006. As Director, | am responsible for the Division’s primary mission to
supervise the more than 125,000 CDCR parolees in the State of California. DAPO
assists in the overall mission of CDCR by enhancing public safety through the effective
supervision of parolees, enabling parole agents to be an active part of the community's
public safety plans, and encouraging and assisting parolees in their effort to reintegrate
into the community.

3. Before assuming the position of Director, | worked approximately 31 years
in California municipal law enforcement. From 1994 to 2004, | was a member of the City
of West Sacramento Police Department as the second-in-command of the Department,
holding the titles of Captain and Deputy Chief. | served in that capacity at the
Department until my retirement in April 2004. From 1975 to 1994, | served with the City
of Inglewood Police Department. While at that Department, | held positions of increased
authority and responsibility from Officer to Captain. | hold a Bachelor’s Degree of Arts in
Management from the University of Redlands, awarded in 1990.

4. | report to Chief Deputy Secretary for Adult Operations, Scott Kernan.
Numerous personnel within DAPO report to me, including a Deputy Director, two
Associate Directors, and four Regional Parole Administrators, among others. In its four
parole regions, DAPO operates approximately 179 parole units and sub-units in 84
locations throughout the State. Altogether, there are approximately 4,400 personnel
working in the Division of Adult Parole Operations, including 2,400 Parole Agents. | am

readily familiar with the CDCR programs and policies concerning parole.

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Il. Overview

5. In May 2007, the California Legislature enacted, and Governor
Schwarzenegger signed into law, Assembly Bill 900 (AB900), comprehensive legislation
which was intended to enact a variety of programs directed at reducing California’s
prison population. Recognizing the role that parole operations has in affecting the
number of persons in California prisons, the Secretary of CDCR also took action within
CDCR to address parole population issues. To that end, the Secretary has approved a
number of parole reform measures intended to provide greater consistency in parole
decisions and enhanced community based programs in lieu of incarceration that has and
will have a positive impact on reducing prison population. As the Director of DAPO it is
my responsibility to ensure these measures are effectively implemented.

6. According to the August 27, 2008 CDCR Weekly Parolee Population
Report, the California parolee population under active supervision was 141,855. (See

http:/Awww.cdcr.ca.gov/Reports Research/Offender Information Services Branch/Wee

klyWed/Weekly Wednesday Parole Archive.asp). These parolees are located in every

county of the State, and represent nearly every offense type and cultural, ethic, racial, or
social group. (Defs.’ Trial Ex. 1202, which is a true and correct copy of a document titled
“2007 Parole Census Data as of June 30, 2008;” Defs.’ Trial Ex. 1210, which is a true
and correct copy of a document titled “County and Region of Parole Calendar Year
2007. These reports are made or updated on a regular basis by personnel in DAPO with
knowledge of the matters contained therein, and are kept by CDCR in the course of
regularly conducted activity, as a standard practice). As of June 30, 2008, there were
approximately 62,393 parolees incarcerated at CDCR in-state prison facilities, including
43,111 Parole Violators Returned With a New Term, 15,689 Parole Violators Returned to
Custody, and 3,593 Parolees Pending Revocation. (Defs.’ Trial Ex. 1255, CDCR Prison
Census Data Report). While some of these parolees are felons who chose to commit

additional dangerous and wanton criminal acts while on parole and are subject to
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additional or new terms of incarceration, there are parole violators who will serve
relatively short terms. On average, a parole violator who is revoked and returned to
prison is incarcerated for 4.2 months before release from prison. This short duration,
combined with the sheer number of parolees returned to prison, leads to a recycling of
offenders that is ineffective and prevents DAPO from achieving one of its primary goals
to assist the parolee population with successful reintegration into the community. As
reported by Dr. Joan Petersilia, of the University of California-Irvine, Center for Evidence
Based Correction, this constant recycling of the California parolee population straps the
limited resources of DAPO with case loads that are often unmanageable, further
destabilizes the parolee population, and compromises the Division’s capacity to
effectively program and supervise parolees across the State.

7. The Division of Parole Operations has made recent improvements that will
greatly enhance the efficiency and effectiveness of parole supervision within the State.
Through DAPO’s efforts, CDCR is implementing parole accountability efforts that are
intended to provide more consistent revocation decisions, alternative sanction programs,
diversion to parole programs based upon parolees’ individual risk and needs factors, and
more consistent decisions regarding parolee discharges. We believe that these
improvements will result in more consistent parole violation decisions, diversion of
parolees to resources and programs that can serve their needs, and altogether reduce
the number of parolees returning to California prisons. Though these improvements will
take time to implement and elicit quantifiable results, they demonstrate a significant effort
by CDCR and DAPO to effectively supervise the California parolee population in order to
ensure the public safety and properly return inmates to the community, while reducing
the State's prison population. Collectively, evidence-based programming and remedial
sanctions, supported by a risk and needs-based decision making model in the
revocation process have proven to reduce prison population while maintaining public
safety, and are discussed in detail below.

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lll. | Improvements in California Adult Parole Operations

A. Implementation of the Parole Violation Decision Making Instrument

8. Parolees can experience difficulties under supervision due to a variety of
conditions unique to each person, including substance abuse, mental health, physical
health, job skills, education, prior criminal involvement, and lack of stability in housing
and pro-social connections. Keeping in mind the goal of community safety and the need
to develop a strategic approach to violations, in conjunction with numerous criminal
justice experts and scholars, DAPO has developed a “Parole Violation Decision Making
Instrument.” (Defs.’ Trial Ex. 1198, which is a true and correct copy of the Parole
Violation Decision Making Instrument documents. | am readily familiar with the
development and drafting of this instrument and the documents describing it. These
documents were created by personnel in DAPO with knowledge of the subject matter
after the instrument was finalized, and will generate records that will be kept and
reported upon by CDCR during the course of regular activities, as a standard practice.)
This is intended to provide a parole violations decision making tool that will enable
parole staff to uniformly determine, recommend, and impose appropriate and consistent
sanctions for parole violations. In doing so, this instrument will assist DAPO’s mission to
efficiently and effectively monitor the State's parolee population while ensuring continued
public safely.

9. The Parole Violations Decision Making Instrument was formulated on the
base assumption that responses to parole violations should be part of an overall strategy
of reducing risk of recidivism, standardizing decision making, enhancing success on
parole, and using parole resources wisely. This instrument is shaped by the principles of
evidence-based practice and effective interventions with offenders. The tool takes into
account a variety of factors, including the level of risk of the offender, his or her
criminogenic needs related to that risk, as well as by the severity of the parole violation
behavior. At its core, the violations instrument is intended to assure consistency, even-

handedness, and effectiveness across DAPO while offering absolute transparency in the
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parole violation process—offenders, DAPO staff, management, and the public should be
able to understand the rationale for violation responses and see them as a part of the
Division's public safety strategy.

10. In the context of these principles, the parole violation instrument seeks to
establish an approach to responding to parole violations that will result in the more
successful transition of offenders under parole supervision to the community. With these
successful transitions, DAPO hopes to reduce future victimization, increase public
safety, and enhance the ability of offenders to become more productive members of the
community. Moreover, the tool will provide CDCR and the public with greater
consistency in responses to parole violations that are based on severity and the level of
risk the parolee poses to the community. These more focused responses will permit
CDCR to efficiently target both its and the local communities’ resources to effectively
manage and help parolees while continuing to ensure public safety.

11. On the whole, DAPO’s activation of the parole violations instrument is
intended to emplace an orderly decision process that enables Parole Agents,
Supervisors, and Parole Administrators to consider violation cases within a similar
framework and provide specific guidance to staff about the factors to consider in
developing a response to each violation of parole or the commission of a new crime by a
parolee. Some of the key decision points and intended outcomes of the Parole
Violations Decision Making Instrument include:

a. Allows for discretionary “override” of an indicated category of
response level when, in the judgment of the Parole Agent and Supervisor—and
according to definitions established by the policy—the “presumptive response”
does not appropriately respond to the level of risk represented by the specific
parolee or the seriousness of the instant violation;

b. Identifies the appropriate category of response for various
combinations of assessed risk, violation severity, and significant stabilizing and

destabilizing factors;
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C. Targets revocation of parole toward the most serious and highest
risk offenders; and

d. Directs programmatic sanctions short of revocation to parolees at
high and mid-level risk according to their assessed criminogenic need. These
programmatic sanctions include referrals to parole programs such as the Parole

Service Centers, Community Based Coalition, Female Residential Multi-Service

Centers, Residential Multi-Service Centers, and In-Custody Drug Treatment

Programs, to name a few.

12. _ Instruction regarding the parole violations tool was conducted for parole
agent supervisors in mid-October 2008. A pilot program using the tool will be
implemented during the first week of November 2008 at four parole units spread
throughout the State in response to all parole violations and/or commission of new
crimes by the parolee population in those parole units. This pilot program is intended to
assess functionality of the violation tool, characteristics of parolees, numbers and types
of parole violations, availability of programs, and will also review the number of, and
justification for, overrides at the parole unit level.

13. Activation and use of this tool is a significant milestone in parole operations
that will permit CDCR to apply statistically validated data to parole decisions and will
likely result in significant reduction in the historically high recidivism rate of the parole
population and reduce the California prison population. Though CDCR cannot quantify
the overall effect this too! will have on the number of parolees returned to California
prison for violations at this time, | am confident that implementation of the Parole
Violations Decision Making Instrument will result in greater use of diversionary sanctions
and more consistent decision making by our staff. As this instrument is implemented on
a Statewide basis over a period of time, it could result in fewer parolees being returned to
incarceration.

B. Use of Risk Assessments and Offender Management Databases

14. A key metric of the Parole Violations Decision Making Instrument is the risk
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of re-offense a particular offender poses. The risk level of the offender in the violations
instrument is determined by a tool known as the “California Static Risk Assessment.”
The sanctions imposed as a result of the tool will be based on the risk of the offender to
recidivate (utilizing the California Static Risk Assessment), as well as the severity of the
violation. This assessment tool was developed by the CDCR Office of Research in
collaboration with the University of California-Irvine, Center for Evidence-Based
Corrections and some of the country’s leading experts on offender risk assessments. To
develop the assessment tool, experts identified which factors are most predictive of
recidivism by analyzing actual outcome data from over 103,000 discharges from parole
in California in 2002-2003.
C. Individual Levels of Risk

15. As currently developed, the California Static Risk Assessment applies
current data from the California Department of Justice regarding present parolees’
personal information and criminal histories, including age, past violence, violence in
prison, and crimes committed, to those predictive factors so that offenders can be
categorized as low, moderate or high risk. For example, the assessment tool indicates
whether a particular offender is at high risk to commit a property, drug, or violent offense.
The assessment can then be used to determine the level of supervision a parolee should
receive. This information is then automatically populated in a separate inmate database,
the Correctional Offender Management and Profiling System, discussed in greater detail
below.

D. Needs Assessment as Inmates Parole

16. | Recognizing the need for a centralized database that will determine the
needs of inmates as they parole, CDCR has implemented the Correctional Offender
Management Profiling for Alternative Sanctions (COMPAS) instrument. (Defs.’ Trial Ex.
1190, which is a true and correct copy of a COMPAS report generated in September
2008. This report is made or updated on a regular basis by personnel in DAPO with

knowledge of the matters contained therein, and is kept by CDCR in the course of

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regularly conducted activity, as a standard practice.) This is a research-based risk and
needs assessment tool for criminal justice practitioners to assist them in placement,
supervision, and case management of offenders while incarcerated and on parole.
CDCR currently releases approximately 10,000 inmates to parole per month, with
roughly 60% of them receiving an assessment utilizing COMPAS. To date, DAPO has
completed over 90,000 pre-release assessments of inmates before placed on parole.
Gathering data from inmates through personal interviews and examination of their
individual records, CDCR evaluates a total of 22 categories of risks and needs
associated with a parolee, including the risks of violence or recidivism, the potential need
for vocational or educational training, and the need for substance abuse assistance,
among others. These categories are then further subdivided into High/Medium/Low
groups that further allow DAPO to target its resources to parolees needing greater
assistance or supervision. COMPAS can also assist DAPO assess the risks and needs
of the larger parolee population in geographic areas. (Defs.’ Trial Ex. 1197, which is a
true and correct copy of specified COMPAS Parolee/Offender Risks and Needs profiles
for San Diego and Sacramento counties as of 8/1/2008. These reports are made or
updated on a regular basis by personnel in the Parole Automation Unit of DAPO with
knowledge of the matters contained therein, and are kept by CDCR in the course of
regularly conducted activity, as a standard practice).

17. | CDCR has established the infrastructure within the Department to expand
these assessments for all pre-release offenders and further expand statistically validated
risk and needs factors in placement decisions and ultimately diverting appropriate
offenders to programs instead of incarceration. This tool is an important component of
the overarching CDCR agenda regarding policy-driven responses to parole violations,
commissions of new crime, and the use of remedial sanctions. This will have positive
impacts on parole operations and will assist in DAPO’s mission to effectively manage
and transition the parolee population back to the community.

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E. Increased Availability of Alternative Sanctions Programs and Reintegration

Resources

18. Another important aspect of parole reform is the increased availability of
alternative sanctions for parole violations. While there is no magic wand that can
transform an offender's personal characteristics, CDCR may be able to address what is
causing the violation, commonly referred to “criminogenic needs,” and thereby reduce
recidivism through the use of the Alternative Sanction Program. These consist of a
variety of programs and resources available to DAPO that can be utilized based on a
parolee’s particular needs or proclivities.

19. The Alternative Sanction Program involves parolees who are charged with
a parole violation who either: 1) receive a unit level decision to continue on parole with
instructions to participate in/complete a community based alternative sanction program;
or, 2) have received their due process hearing; and are identified as a person who may
benefit from an intermediate custody setting or community based program in lieu of
returning to prison. This program expansion directly relates to a reduction of offenders
returning to state prisons for low-level violations and provides the offender evidence-
based rehabilitative programming in lieu of incarceration.

20. For instance, CDCR now has access to 1,800 In-custody Drug Treatment
Program beds statewide that provide alternative sanctions for parolees who violate their
parole conditions due to a drug or alcohol dependency and/or who need treatment to
control their substance abuse. This program allows parolees to receive rehabilitative
treatment for drug addiction in either local community correctional environments or
community-based residential treatment programs, rather than in state prison facilities,
and in so doing allows for greater integration to local communities and eases parolees’
return to local communities. Recognizing the value of this program, CDCR expanded
the number of In-custody Drug Treatment Program beds from approximately 500 to 1800
during the 2007/08 fiscal year. (Defs.’ Trial Ex. 1309, which is a true and correct copy of

In-custody Drug Treatment Program providers. This report is made or updated on a

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regular basis by personnel in CDCR with knowledge of the matters contained therein,
and are kept by CDCR in the course of regular activity, as a standard practice.)

21. Parole violators can also be assigned to Day Reporting Centers as an
alternative sanction. In this program, parolees receive an extensive needs assessment
to determine criminogenic factors representing barriers to successful transition from
prison to the community, from which a counseling/activity regime is developed to
address them. Resources at these locations include employment services, substance
abuse and anger management counseling, and educational programs to address
criminogenic needs, to name a few. CDCR currently has 700 available spaces in Day
Reporting Centers, an increase from 300 in 2006. These centers are currently located in
urban centers including Los Angeles, Van Nuys, Riverside, Stockton, San Francisco,
San Diego and Fresno, while negotiations for additional slots in Santa Barbara, Orange,
Oakland, and Shasta are on-going.

22. In order to assist parolees with their transition back to the community,
CDCR utilizes Residential Multi-Service Centers and Parolee Service Centers at
locations across the state. Services provided at these centers include development of
individualized treatment plans, substance abuse education, treatment and counseling,
vocational services, life skills development, strengthening of family relationships,
coordinated case management, referral to other agencies as needed, and discharge
planning. Of note, CDCR has developed Female Residential Multi-Service Centers to
provide specific needs for female parolees through a gender-responsive program model.

23. CDCR also uses an innovative parolee reentry service known as the
Community-Based Coalition program, similar to the Day Reporting Center program
described previously. In this program, parolees receive an extensive needs assessment
to determine criminogenic factors representing barriers to successful transition from
prison to the community, from which a counseling/activity regime is developed to
address them. The program makes extensive use of community resources and

organizations, and engages parolee family members to participate in family issues and
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reunification programming. Two of the Community-Based Coalition programs are
expected to serve a minimum of 360 parolees per year between them, and can
accommodate 150 parolees at a time between the two programs. These two programs
include a residential component to serve up to 10% of the participants. A third
Community-Based Coalition program includes a residential component for all of the 300
participants/slots each month. These facilities are currently located in Los Angeles, East
Palo Alito, and Sacramento.

24. DAPO also contracts for other rehabilitative parolee programs available to
parolees, including:

a. The Computer Literacy Learning Centers provide a computer based
curriculum which focuses on proficiency in reading, writing and
computational skills. There are 21 literacy labs, of which each is
tasked with providing 800 instructional hours to parolee-students per
month.

b. The Substance Abuse Treatment & Recovery program is an
evidence-based cognitive behavioral education program designed to
provide substance abuse and relapse prevention instruction to
parolees. There are 29 classrooms available to 115 parole units
throughout the four parole regions.

c. The Parolee Employment Program provides workshops and
employment services to parolees at six sites in three parole regions.
Contracts for this program were suspended effective July 31, 2008
due to the State budget impasse, and it is hoped that the program
will recommence with the newly enacted budget.

d. The Employment Development Department Parolee Job Program
provides statewide job search preparation, pre-employment
services, job placement and job retention assistance to parolees at

12 sites either on a full or half-time basis in three parole regions.
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e. The Offender Employment Continuum program provides in-reach
services to inmates up to 120 days prior to parole. The services
consist of a 90-hour employability readiness workshop and transition
into community-based employment assistance programs. The
workshops are located at three male and two female CDCR prisons.

25. Recognizing its potential value, CDCR is working to expand the statewide
scope and availability of Alternative Sanction Programs and other resources for use in
managing violators and the parolee population as a whole. (Defs.' Trial Ex. 1306, which
is a true and correct copy of the “Program Development Unit Program Matrix, Revised
8/13/08." This report is made or updated on a regular basis by personnel in CDCR with
knowledge of the matters contained therein, and are kept by CDCR in the course of
regularly conducted activity, as a standard practice.) CDCR is also monitoring the
utilization of Alternative Sanction Programs and these resources and their resultant
effects on the parolee population. If more fully implemented and analyzed, the
Alternative Sanctions Program and other population resources could be a powerful tools
assisting parolees in modifying their behavior or conditions that lead to recidivism.

F; Consistent Parole Discharge Decisions

26. Pursuant to California Penal Code section 3001, parolees who are violation
free are discharged from parole supervision at 13 months for non-violent/non-serious
offenders and 25 months for serious/violent offenses. CDCR's prior operations practice
allowed an individual Parole Agent to determine an offender's suitability for discharge
and resulted in inconsistency among the various parole regions of the State. In May
2007, CDCR issued a memorandum elevating this decision to the District Administrator
level in order to provide for increased consistency in discharge decisions. (Defs.’ Trial
Ex. 1191, which is a true and correct copy of Director Hoffman’s May 15, 2007
Memorandum titled “Penal Code Section 3001 Compliance Policy Statement.” This
memorandum was issued at my direction, based on knowledge within my control, to

personnel within CDCR, and is kept by CDCR in the course of regularly conducted
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activity, as a standard practice.) In May 2007, DAPO estimated that 2,000 to 4,000
additional discharges would be realized. In actuality, CDCR saw an increase of 6,560
additional discharges from May 2007 through the end of April 2008, compared to the
previous twelve month period. This increase has had a direct impact on reducing the
prison population through fewer parolees being returned to prison for technical
violations. While it is projected the discharge increase will level off, the inclusion of
supervisory oversight of discharge decisions will provide for continued consistency and
reduced prison population in the future.

G. Increased Attention to Parolee Mental Health Issues

27. There is a demonstrated need for the provision of mental health services to
parolees released from the California prison system. CDCR statistics show that mentally
ill parolees accounting for approximately 20% of the overall parolee population. (Defs.’
Trial Ex. 1308, which is a true and correct copy of a report titled “Mentally IIl Parolee
Population, March 28, 2008.” This report was made or updated on a regular basis by
personnel in CDCR with knowledge of the matters contained therein, and is kept by
CDCR in the course of regularly conducted activity, as a standard practice.) If left
untreated, many of these parolees with mental health issues will decompensate and
pose a threat to themselves, the public, or the prison population or staff if they are
reincarcerted. (Defs.’ Trial Ex. 1205, which is a true and correct copy of the Annual
Reports on the Mental Health Services Continuum Program of the California Department
of Corrections and Rehabilitations—Parole Division. These reports were made and
updated on a regular basis at the direction of CDCR by personnel with knowledge of the
matters contained therein, and are kept by CDCR in the course of regularly conducted
activity, as a standard practice.)

28. In 2000, CDCR implemented the Mental Health Services Continuum
Program, which provides pre-release planning and post release treatment for mentally ill
parolees. One component of the Continuum Program is the Transitional Case

Management Program for the Mentally Ill, which provides pre-release assessments for
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all inmates identified as part of the prison’s Mental Health Services Delivery System.
Information gathered from the assessments is provided to the second component of the
Continuum Program, the Parole Outpatient Clinics. These clinics provide mental health
treatment and medication management to Coleman class members upon release and
throughout parole. Treatment can consist of medication management, group therapy,
and individual therapy to parolees at high risk of criminal behavior due to their mental
illness. Parole Outpatient Clinic staff conduct evaluations and provide services in CDCR
parole offices located in each Parole Region of the State, During August and September
2008, over 14,000 mentally ill parolees had appointments with Parole Outpatient Clinic
treatment staff. (Defs.’ Trial Ex. 1199, which is a true and correct copy of a Count by
County of Mentally Ill Parolees with POC Appointments During the Period of August 1,
2008 through September 30, 2008. This report is made or updated on a regular basis by
personnel in CDCR with knowledge of the matters contained therein, and is kept by
CDCR in the course of regularly conducted activity, as a standard practice.)

29. Recognizing the need to further develop its management of mentally ill
parolees, DAPO reviewed its policies and made substantial systemic changes. Notably,
in early 2007, DAPO ceased its practice of returning mentally ill parolees to CDCR solely
on the basis of technical violations that arose from their mental illness. (Defs.’ Trial Ex.
1195, which is a true and correct copy of former Secretary Tilton’s January 12, 2007
Memorandum titled “Parolees Returned to Custody for Psychiatric Treatment.” This
memorandum was made by personnel in CDCR with knowledge of the matters
contained therein, and was kept, maintained, and distributed by CDCR in the course of
regularly conducted activity, as a standard practice.) Furthermore, DAPO developed a
process to assist field units manage parolees who exhibit conduct indicating that the
parolee’s mental condition has deteriorated such that the parolee was likely to engage in
future criminal behavior, and/or was unable to care for him or herself due to a perceived
mental illness. (Defs.’ Trial Ex. 1307, which is a true and correct copy of Director

Hoffman's January 12, 2007 Memorandum titled “Process for Managing Mentally III
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Parolees in Need of Enhanced Community-Based Mental Health Treatment.” This
memorandum was issued at my direction, based on knowledge within my control, to
personnel within CDCR, and is kept by CDCR in the course of regularly conducted
activity, as a standard practice.) This had the dual benefit of reducing the amount of
parolees returned to prisons, thereby allowing populations to reduce, and allowing the
parolees to receive necessary mental health treatment in their local communities.

30. _Ifamentally ill parolee violates parole, remedial sanctions are considered
at each stage of the revocation process. Moreover, mentally ill parolees are not
excluded from participation in remedial sanctions programs based solely on their mental
illness. DAPO will be utilizing the Parole Violation Decision Making Instrument,
discussed above, for guidance when determining whether a parolee may be placed in a
remedial sanction program.

31. | Furthermore, DAPO has developed specific plans to enhance the provision
of mental health care to eligible parolees. During California Fiscal Year 2006-2007,
DAPO established an additional 60 clinical positions for Parole Outpatient Clinic
services. Of the 60 positions, 4 are supervisory, and 56 provide direct treatment to
mentally ill parolees. In September 2008, CDCR instituted a policy to provide all
parolees in CDCR custody the same access to mental health care provided to any other
CDCR inmate. (Defs.’ Trial Ex. 1222, which is a true and correct copy of a September
26, 2008 Memorandum titled “Referral of Parolees to Higher Levels of Mental Health
Care Consistent with August 8, 2008 Court Order.” This memorandum was made by
personnel in CDCR with knowledge of the matters contained therein, and was kept,
maintained, and distributed by CDCR in the course of regularly conducted activity, as a
standard practice.) Furthermore, CDCR and the California Department of Mental Health
have collaborated in the development of plans to ensure that mentally ill parolees
receive adequate mental health care and timely parole revocation hearings. (Defs.’ Trial
Ex. 1193, which is a true and correct copy of the Revised 9/22/08 Plan regarding Due

Process measures for revocation proceedings of mentally ill parolees.)
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32. DAPO is also in the implementation stages of contracting for community-
based mental health rehabilitative and crisis care services. The services are above and
beyond what is available by way of the Parole Outpatient Clinics, and in most cases will
include a housing component. In concert with CDCR’s Division of Correctional Health
Care Services and the California Department of Mental Health, DAPO is seeking to
improve parole planning for mentally ill inmates to increase their success in the
community and link them to the appropriate level of care as available. Additionally,
DAPO is working to enhance Parolee Outpatient Clinics by the development of a
standardized program guide and increased communication among the parole agents,
clinicians and community providers for improved case management. As the mental
health needs of parolees are met, their potential risk or recidivism could decrease, which
may lead to a reduction of parolees returning to prison with beneficial effects on the
overall prison population.

H. Assisting Inmates Pending Release Obtain Benefits

33. In addition to increased services for mentally ill parolees, CDCR has also
taken steps assist inmate pending release to parole obtain benefits they may be entitled
to when reentering the community. DAPO has contracted for social worker positions in
the California prisons to represent inmates through the process of applying for Federal
and State benefit programs, such as Social Security, Medi-Cal, and Veteran's
Administration benefits, prior to an inmate’s release to the community. These benefits
are applied for when an inmate is potentially eligible due to a disability, medical or
mental health condition. Currently, DAPO has contracted social workers for 19 of the 33
prisons, with a contract pending for the remaining 14 prisons.

I. Working with Community Law Enforcement and Courts

34. During my tenure as Director, | have traveled across the State and met
with numerous local law enforcement personnel, including police, sheriffs, and district
attorneys, for the purpose of informing them about developments in the parole

operations field and fostering greater working relationships between State and local
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Officials in this area. | am readily familiar with two specific court programs in Santa Clara
and Los Angeles counties where “dual jurisdiction” individuals are processed through the
criminal justice system. These dual jurisdiction individuals are parolees who have
committed new offenses in their local communities, but have not been returned to State
custody. Instead, they are handled in the local courts and diverted to programs within
their communities.

35. | have closely worked with Judge Steven Manley of the Santa Clara County
Superior Court in the operation of “drug courts” that occasionally service the needs of
mentally ill parolees, and have encouraged DAPO personnel to support this endeavor.
DAPO has also worked with, and CDCR has provided a limited grant to, the Los Angeles
County Superior Court on a program that facilitates the transition of female parolees
back into the community along with programming, usually for drug and alcohol needs.
While neither of these court programs is operated on a statewide basis, | believe they
show promising collaboration among state and local officials and will benefit the parolee
population.

Vill. Summary

36. The effective and efficient management of CDCR’s parolee population will
have positive effects on the overall California prison population and the public safety.
DAPO has instituted programmatic changes in its parole operations that will foster
greater consistence in parole violation decisions, increase the Department’s
understanding of the risks and needs associated with each parolee, and push the
necessary resources to parolees so that they can successfully return to the community
after incarceration.

37. | Though the use of the Parole Violation Decision Making Instrument, the
offender management database, various Alternative Sanctions Programs, and
community-based parolee service resources, DAPO is better positioned to understand
the parolee population, provide for parolee needs, prevent recidivism and return to

prison, and protect the public at large. CDCR now has a validated risk assessment
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instrument in place that significantly improves the capacity to effectively manage the
inmate and parolee population across the State. Given the necessary time to complete
a thoughtful review of the inmate and parolee populations, CDCR will be able to evaluate
the non violent/non-serious inmates and parolees via a science- and evidence-based
risk assessment instrument that can lead to the identification of a specific population that
could either be released from the institutions or discharged from parole supervision
without compromising public safety. As these programs and resources are more fully
implemented, CDCR’s ability to supervise the parolee population will improve and could

result in positive impacts on the overall population in California prisons.

| declare under penalty of perjury that the foregoing is true and correct. Executed

in Sacramento, Califomia on October 30 , 2008.

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